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                        UNITED STATES DISTRICT COURT
                         DISTRICT OF MASSACHUSETTS
____________________________________
                                     )
ASSOCIATION OF AMERICAN              )
MEDICAL COLLEGES, et al.,            )
                                     )
            Plaintiffs,              )
                                     )
                                     )   Civil Action No. 25-CV-10340-AK
v.                                   )
                                     )
NATIONAL INSTITUTES OF               )
HEALTH, et al.,                     )
                                     )
            Defendants.              )
                                     )

                   ORDER GRANTING PLAINTIFFS’ EMERGENCY
                  MOTION FOR TEMPORARY RESTRAINING ORDER

ANGEL KELLEY, D.J.

       For purposes of Federal Rule of Civil Procedure 65(b), the Plaintiffs have made a

sufficient showing that, unless their Emergency Motion For Temporary Restraining Order

(“TRO”) [Dkt. 5] is granted, they will sustain immediate and irreparable injury before there is an

opportunity to hear from all parties. Thus, a TRO is justified to preserve the status quo pending a

hearing and the Plaintiffs’ Motion is GRANTED.

       The Defendants and their officers, employees, servants, agents, appointees, and

successors are hereby enjoined from taking any steps to implement, apply, or enforce the

Supplemental Guidance to the 2024 NIH Grants Policy Statement: Indirect Cost Rates (NOT-

OD-25-068), issued by the Office of the Director of the National Institutes of Health on February

7, 2025 (the “Rate Change Notice”), in any form with respect to institutions nationwide until

further order is issued by this Court. This Court further orders that counsel for the Defendants

shall file a status report with the Court within 48 hours of the entry of this Order, and at biweekly



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intervals thereafter, confirming the regular disbursement and obligation of federal financial

assistance funds and reporting all steps that Defendants and their officers, employees, servants,

agents, appointees, and successors have taken to comply with the Court’s TRO.

        Defendants’ opposition to the Motion is due by Friday, February 14, 2025. Plaintiffs

may file a reply brief, limited to ten pages in length, by Tuesday, February 18, 2025. Counsel

shall appear in-person for a hearing on the Motion at 10:00 AM on Friday, February 21, 2025.

Counsel for the Plaintiffs shall provide a copy of this Order, along with copies of the motion

papers, to the following by 6:00 PM on Tuesday, February 11, 2025: Brad P. Rosenberg,

Special Counsel, Federal Programs Branch, Civil Division, U.S. Department of Justice; Leah

Foley, U.S. Attorney for the District of Massachusetts; and the Chief of the Civil Division of the

U.S. Attorneys Office for the District of Massachusetts. Electronic service suffices.

        This TRO shall become effective immediately upon entry by this Court. It shall remain

in effect until further order of this Court.

        SO ORDERED.

Dated: February 10, 2025                                     /s/ Angel Kelley
                                                             Hon. Angel Kelley
                                                             United States District Judge




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